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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


FAIR FIGHT ACTION, INC, et al.,
       Plaintiffs,
       v.                                          Civ. Act. No. 18-cv-5391 (SCJ)
BRAD RAFFENSPERGER, et al.,
    Defendants.



   PLAINTIFFS’ SUPPLEMENTAL STATUS UPDATE PURSUANT TO
       THE COURT’S JANUARY 9, 2020 ORDER (ECF No. 194)

      Plaintiffs submit this Supplemental Status Report to update the Court on a

development that occurred yesterday afternoon. Shortly after 5:00 p.m., Plaintiffs

received an email from Mr. Belinfante about the 238,000 pages of “training

materials” that Defendants produced on Wednesday, January 15, 2020. According

to the email, Defendants learned, after the production, that at least some documents

in the production predate the relevant discovery time-period or are otherwise

irrelevant. Mr. Belinfante proposed a “re-production” of the documents to exclude

the irrelevant documents or an identification of Bates number of the documents to

be excluded.

      But, nothing in Mr. Belinfante’s email addresses the fact that these

documents were requested months ago in Plaintiffs’ First Request for Production
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of Documents (served July 15, 2019). Moreover, nothing in Mr. Belinfante’s email

addresses the further delay occasioned by Defendants failure to properly produce

the documents – even at this late date. And, finally, nothing in Mr. Belinfante’s

email addresses Defendants’ proposed (and wholly unacceptable) date of February

28, 2020—six weeks from now and three and a half months after the close of fact

discovery—for the completion of Defendants’ document production.

      Respectfully submitted this 17th day of January, 2020.


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                         CERTIFICATE OF SERVICE

   I hereby certify that on this, the 17th day of January 2020, I electronically

filed the foregoing PLAINTIFFS’ STATUS UPDATE PURSUANT TO THE

COURT’S JANUARY 9, 2020 ORDER (ECF No. 194) with the Clerk of

Court using the CM/ECF system, which will automatically send notification of

such filing to Counsel of Record:

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